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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                             Case No. 07-CR-20531-1

v.                                                            Honorable Thomas L. Ludington

STANLEY THOMAS BRAZIL, JR.,

                  Defendant.
_______________________________________/

      ORDER DENYING DEFENDANT’S MOTION FOR COUNSEL, DENYING
  PLAINTIFF’S MOTION TO DISMISS AND DIRECTING PLAINTIFF TO RESPOND

       On September 23, 2008, a federal jury convicted Defendant Stanley Thomas Brazil, Jr. of

two counts of distribution and aiding and abetting in the distribution of cocaine base. ECF Nos.

173, 230. He was sentenced to concurrent sentences of 380 months incarceration for each count.

ECF No. 230. On August 11, 2017, he was resentenced to concurrent sentences of 292 months

incarceration for each count. ECF No. 426. His sentence was further reduced on January 31, 2020,

to a term of 262 months incarceration and eight years of supervised release. ECF No. 463. On

September 14, 2020, Defendant filed a motion for appointment of counsel and a motion for

compassionate release. ECF Nos. 477, 478. On October 9, 2020, Plaintiff, the United States of

America (the “Government”), moved to dismiss Defendant’s motion for compassionate release.

ECF No. 479. For the reasons stated below, Defendant’s motion for appointment of counsel will

be denied, Plaintiff’s motion to dismiss will be denied, and Plaintiff will be directed to respond to

Defendant’s motion for compassionate release.
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                                                   I.

                                                  A.

        The Sixth Amendment secures to a defendant who faces incarceration the right to counsel

at all “critical stages” of the criminal process. United States v. Wade, 388 U.S. 218, 224 (1967).

The Supreme Court has held that prisoners’ post-conviction right to counsel extends only to the

first appeal of right and no further. Pennsylvania v. Finley, 481 U.S. 551, 555 (1987). The decision

to appoint counsel is within the discretion of the court, and the appointment of counsel is only

required where the interests of justice or due process so require. Mira v. Marshall, 806 F.2d 636,

638 (6th Cir. 1986). Appointment of counsel is therefore required only if, given the difficulty of

the case and petitioner’s ability, the petitioner could not obtain justice without an attorney, he could

not obtain a lawyer on his own, and he would have a reasonable chance of winning with the

assistance of counsel. See Thirkield v. Pitcher, 199 F. Supp. 2d 637, 653 (E.D. Mich. 2002).

        Defendant has not demonstrated that appointment of counsel is warranted. Seeking

compassionate relief does not involve complex facts or legal doctrines that would prevent

Defendant from effectively bringing his claim on his own behalf. Indeed, Defendant has already

filed a relatively lengthy motion for compassionate release, which includes 56 pages of briefing

and exhibits. See ECF No. 478. Defendant’s motion for the appointment of counsel will be denied.

                                                  B.

        The Government’s motion to dismiss will also be denied. The Government argues that

Defendant’s motion should be dismissed because his case is currently on appeal to the Sixth

Circuit. ECF No. 479 at PageID.3608. On February 5, 2020, Defendant filed a notice of appeal

regarding this Court’s January 31 order reducing his sentence. ECF No. 465. However, the appeal

has since terminated. The Sixth Circuit affirmed this Court on July 28, 2020, ECF No. 474, and



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the mandate issued on August 20, 2020. ECF No. 475. Accordingly, the Government’s motion

will be denied.

                                                           C.

       Under the Eastern District of Michigan Local Rules, a response to a nondispositive motion

must be filed within 14 days of service of the motion. L.R. 7.1(e)(2). As of the date below, no

response to Defendant’s motion for compassionate release has been received. Accordingly, the

Government will be directed to respond to Defendant’s motion for compassionate release.

                                                           II.

       Accordingly, it is ORDERED that Defendant’s Motion for Appointment of Counsel, ECF

No. 477, is DENIED.

       It is further ORDERED that Plaintiff’s Motion to Dismiss, ECF No. 497, is DENIED.

       It is further ORDERED that Plaintiff is DIRECTED to respond to Defendant’s Motion

for Compassionate Release, ECF No. 478, on or before October 27, 2020. Consistent with Local

Rule 7.1(e)(2)(C), Defendant shall have seven days to reply after service of Plaintiff’s response.



Dated: October 20, 2020                                                      s/Thomas L. Ludington
                                                                             THOMAS L. LUDINGTON
                                                                             United States District Judge


                                                PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney of record herein by electronic means and to
                      Stanley Thomas Brazil, Jr #41864‐039, MILAN FEDERAL CORRECTIONAL
                      INSTITUTION, Inmate Mail/Parcels, P.O. BOX 1000, MILAN, MI 48160 by
                      first class U.S. mail on October 20, 2020.

                                                      s/Kelly Winslow
                                                      KELLY WINSLOW




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